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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

                                            )
Rudolph Technologies, Inc., a Delaware      ) Case No.: 05-CV-01396 (JRT/FLN)
corporation,                                )
                                            )
                    Plaintiff,              )
                                            )
v.                                          )
Camtek Ltd., a foreign corporation,         )
                                            )
                    Defendant.              )
                                            )

           PLAINTIFF RUDOLPH TECHNOLOGIES, INC.’S MOTION
                  TO EXECUTE ON SUPERSEDEAS BOND


      Pursuant to Federal Rule of Civil Procedure 65.1, Plaintiff Rudolph Technologies,

Inc. (“Rudolph”) respectfully moves this Court for an Order to execute on supersedeas

bond no. 09185259 from surety Zurich American Insurance Company (“Zurich”). In

February 2006, Rudolph acquired August Technology Corporation, making Rudolph the

proper party to execute on the supersedeas bond and collect judgment from Zurich.

      The grounds for this motion are set forth and supported in the accompanying

Memorandum of Law and supporting papers filed herewith, and all of the files, records

and proceedings herein.
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                              Rudolph Technologies, Inc.

                              By its Attorneys,

Dated: March 14, 2016         s/ Daniel W. McDonald
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                              William D. Schultz (MN #0323482)
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